Case 2:20-cv-11718-GAD-DRG ECF No. 44-6, PagelD.1137 Filed 01/31/22 PRR EIBIT 27

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

JOHN PLAINTIFF,
Plaintiff,

vs. Case No. 2:20-cv-11718-GAD-DRG

WAYNE STATE UNIVERSITY,

WAYNE STATE UNIVERSITY

SCHOOL OF MEDICINE,

NICOLINA CAMAJ, MARGIT CHADWELL,
MATTHEW JACKSON, RICHARD S. BAKER,
R. DARIN ELLIS, in their individual
and official capacities,

jointly and severally,

Defendants.

 

VIDEOCONFERENCE DEPOSITION

DEPONENT: MATTHEW JACKSON, Ph.D.

TIME: 9:59 a.m.

DATE: Friday, November 19, 2021
REPORTER: Denise M. Kizy, RPR, CRR, CSR-2466

 

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referring to a specific policy of the
Professionalism Committee?

MR. FLORES: | am. | am.

MR. PORTER: | think it would be
helpful if we show the witness the document so

that he can --

MR. FLORES: Okay. Please publish
Exhibit A.

MR. PORTER: Feel free to take your
time to read the document.

MR. FLORES: And if you would take a
look at page 9 of 12. If you would go down to
page 9 of 12, and if you would just show that to
Dr. Jackson, let him familiarize himself with
it.

THE WITNESS: Okay.

BY MR. FLORES:

Q. And if you would just go up to page 8
of 12 as well, take a look at that.

A. Okay.

Q. Allright. So is it accurate to say
that the Dean of Students, the Dean of Basic
Sciences or the Assistant Dean of Clinical
Sciences, that those individuals can receive
complaints and undertake an investigation?

BO RO RO AO RO A A A SA SBS mS mS mS oS os
ABRWNHAOHOBONDAKRWBNHAOPCANOOLWNH =

forwarded to me.

MR. FLORES: Could you slowly scroll
for Dr. Jackson.

Dr. Jackson, if you need them to stop
at any point, just ask them to.

Just scroll through just to make sure
that we're talking about the same document.

MR. PORTER: Bob, I'm not seeing any
Bates numbers on this document. Was this in
your client's possession or was it produced?

MR. FLORES: | believe this was
produced. I'm not sure why there are no Bates
stamps on here.

MR. PORTER: Okay. But it's in your
client's possession?

MR. FLORES: Yeah, and it was listed
as the Professionalism Committee file.

MR. PORTER: Produced by you to us?

MR. FLORES: No, produced by you to
us, because we would have had Bates stamps on
it, too. I'm not sure why they're not on here.

MR. PORTER: Okay.
BY MR. FLORES:

Q. Does that look like the document that

you -- the document and materials that you

 

 

 

 

 

Page 55 Page 57
1 MR. PORTER: Objection; form. 1 received from Dr. Camaj?
2 THE WITNESS: Yes, that's correct. 2 A. Yes, it looks like what she provided
3. BY MR. FLORES: 3 to Margit Chadwell and then Margit Chadwell
4 Q. And one of the outcomes there is that 4 provided it to me.
5 no further action is taken; is that right? 5 Q. Okay. Yes. | apologize for that.
6 A. Yes, that's possible, yes. 6 ‘That's my mistake.
7 Q. Now in this case at some point in 7 Now when you receive a document like
8 _ time did you receive a report from the Office of 8 this as the chair of the Professionalism
9 the Dean of Students at the medical school 9 Committee, what's your first responsibility with
10 regarding my client, Anthony Eid? 10 respect to the information you receive?
11 A. The report came to Dr. Chadwell, and 11 A. Well, first, it would be to schedule
12. ‘then Dr. Chadwell provided the material to me. | 12 a Professionalism Committee meeting with all the
13 MR. FLORES: All right. And would 13 different members. That would be the first
14 you please publish Exhibit B for Dr. Jackson. 14 responsibility.
15 I'm sorry, that's not Exhibit B. 15 Q. And do you have any responsibility
16 ~~ Exhibit C. 16 with respect to investigation?
17 MARKED FOR IDENTIFICATION: 17 MR. PORTER: Objection; form.
18 EXHIBIT C 18 THE WITNESS: Yes, if there would be
19 11:23 a.m. 19 additional documentation that was needed then |
20 MR. FLORES: And if you would scroll 20 ~=would have the responsibility of contacting
21 ‘down to the next page. 21 individuals who may be able to provide that.
22 BY MR. FLORES: 22 BY MR. FLORES:
23 Q. Dr. Jackson, do you recognize that? 23 Q. And do you remember if you read
24 A. Yes, that as my recollection is that 24 _ through the material that you received from Dr.
25 __was with the material that Dr. Chadwell 25 Chadwell shortly after receiving it?
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1 Q. Did you investigate the complainant 1 ‘the subject of unauthorized access?
2 to determine whether her claims to have felt 2 MR. PORTER: Objection; form.
3 harassed were supported by the evidence? 3 THE WITNESS: No, | didn't
4 MR. PORTER: Objection; form. 4 _ investigate that.
5 THE WITNESS: No, | did not. 5 BY MR. FLORES:
6 BY MR. FLORES: 6 Q. And did you ever learn whether
7 Q. Did there come a time that you 7 Nikolina Camaj ever conducted an actual
8 conducted an investigation with respect to where 8 _ investigation regarding the complaint or --
9 my client lived? 9 MR. PORTER: Objection; form. Sorry.
10 MR. PORTER: Objection; form. 10 BY MR. FLORES:
11 THE WITNESS: During the 11 Q. Based on your recollection, what was
12 Professionalism Committee, we have record of 12 Ms. Camaj's responsibility or role in this case?
13 __where students’ addresses, so during the 13 A. My understanding was that she
14 Professionalism Committee hearing we looked that | 14 collected the initial documents and then that
15 up on-line and found -- 15 = she interviewed Amanda Burton and Anthony Eid
16 BY MR. FLORES: 16 and collected -- | believe that he provided a
17 Q._ I'm sorry? 17. statement as part of that interview, and that
18 A. And we found his address at that 18 was part of the packet that she forwarded over
19 ‘time. 19 to Dr. Chadwell.
20 Q. And was there a charge that related 20 Q. Do you remember whether she actually
21 to my client's address that you recall? 21 investigated whether the claims made by either
22 MR. PORTER: Objection; form. 22 __ party were accurate?
23 THE WITNESS: The implication was 23 MR. PORTER: Objection; form.
24 =‘ that Amanda had mapped the location of the 24 THE WITNESS: I'm not aware that she
25 individual who had taken over her account, 25 did that, no.
Page 63 Page 65
1. someone had spoofed her account and was 1 BYMR. FLORES:
2 ‘pretending to be her on-line, and she was able 2 Q. Was there ever a time that you asked
3 to map that individual to a location in Detroit, 3. my client to surrender his computer and cell
4 and that location corresponded to Mr. Eid's 4 phone for the purpose of submitting it for a
5 address at that time. 5 forensics analysis?
6 BY MR. FLORES: 6 A. No.
7 Q. Is it your testimony today that the 7 Q. Are you aware of whether Nikolina
8 location that had been mapped was my client's 8 Camaj ever had a forensic examination of the
9 = specific address? 9 computer or phone done?
10 A. As Irecall from that, it was -- the 10 A. No.
11. _ location was mapped to an intersection and his | 11 Q. Did you ever learn that the events
12. address was adjacent. It was on the corner of 12 complained of by her did not take place on Wayne
13 ‘that intersection is what I recall. 13 State University property?
14 Q. But you did not -- or let me -- I'll 14 A. My understanding -- I'm not clear on
15 withdraw that. 15 your question.
16 Did you interview any of the 16 Q. Are you aware now -- let me rephrase
17. complainants’ friends who allegedly had 17 ~~ ‘that.
18 knowledge about the harassment? 18 How did you determine -- let me
19 A. No, | did not. 19 — withdraw that.
20 Q. Did you ask the Wayne State Police 20 Under the school's rules, the
21 Department to run a criminal background check on 21 __ university has a responsibility to investigate
22 the complainant? 22 conduct that occurs on school property; is that
23 A. No. 23 correct?
24 Q. Did you investigate whether my 24 MR. PORTER: Objection; lack of
25 client's banking or social media accounts were 25 foundation. Are we still talking about the
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1. metinaconference room. There was an area 1 A. Yes, they did. They would have
2 outside where they could wait, but | told him to 2 asked -- they asked him a number of questions.
3 come and wait after they were finished. 3 Q. Do you remember any of the questions
4 So I -- the answer is I don’t know 4 that he was asked?
5 where he was waiting when they were in the room. 5 A. Idon't recall specific questions,
6 He was not in the vicinity of the conference 6 no.
7 ‘room that we were meeting with them. 7 Q. Prior to his testimony that morning,
8 Q. And was that intentional on your 8 — did you provide him with a summary of what
9 part? 9 had -- what Amanda Burton or Pamela Burton had
10 A. Yes. 10 testified to?
11 Q. What was the reason for that? 11 MR. PORTER: Objection; form.
12 A. | didn't want them to have to 12 THE WITNESS: No, | did not.
13 interact in person. 13. BY MR. FLORES:
14 Q. Were you aware that one of the goals 14 Q. So that all that he would have known
15 of Mrs. Burton's was to make sure that Anthony 15 about the complaint against him was related to
16 = did not become a doctor? 16 the materials you had shown him during your
17 MR. PORTER: Objection; form and 17. —- meeting?
18 foundation. 18 MR. PORTER: Objection; form.
19 THE WITNESS: I was not aware of 19 THE WITNESS: That was the
20 ‘that. 20 __ information that he had going to the committee,
21 +BY MR. FLORES: 21 ~_—scorrect. He had reviewed the documents that
22 Q.__ If you had known that would you 22 ~—«ithey had.
23 have -- would that have affected your evaluation 23 BY MR. FLORES:
24 of her testimony? 24 Q. Now, Dr. Jackson, if | accused you of
25 MR. PORTER: Objection; form. 25 acrime toa police officer, do you think it's
Page 79 Page 81
1 THE WITNESS: Well, | didn't evaluate 1 important for the police officer to ascertain
2 ‘her testimony. That was up to the committee. | 2 what relationship you and | have?
3 didn't have any role in the decision-making. | 3 MR. PORTER: Objection; calls for
4 was just -- | chaired it, so it was a logistics 4 — speculation and form.
5 process. So, no, it wouldn't have affected my 5 BY MR. FLORES:
6 actions, no. 6 Q. If you can answer it.
7 BY MR. FLORES: 7 A. | wouldn't think that the police
8 Q. Do you think it might have affected 8 officer would be responsible for finding out the
9 any of the Professionalism Committee members? 9 nature of our relationship. | think they
10 MR. PORTER: Objection; calls for 10 ~=would -- you know, | would think they would just
11. speculation. 11.‘ have to respond to the complaint and deal with
12 THE WITNESS: | would have to 12 ‘it from there. | don't think it would be there
13 = speculate to try and speculate what was in their 13 position to understand if there was some
14 mind at the time. | don't know. 14 history, for example, in your scenario between
15 BY MR. FLORES: 15 sus.
16 Q. Now when my client entered the room 16 Q. Butin this case your job was to
17 _ that the hearing was being held in, was he 17 _ investigate the charges against my client; is
18 ‘introduced by anybody? 18 ‘that right?
19 A. Me. | would have introduced him to 19 MR. PORTER: Objection; form.
20 _—the committee. 20 THE WITNESS: Investigation to the
21 Q. And did you ask him any questions? 21 ~_—s~point of gathering the information, the
22 A. Idon't recall specifically. | 22 documents, that were going to be provided to the
23 __ believe | may asked him to confirm his address. 23 ~Professionalism Committee, but no, not
24 Q. And did any of the members of the 24 _ investigate beyond that point. Not to the
25 Professionalism Committee ask him any questions? | 25 point, for example, a criminal investigation or
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1. after notifying was then I provided all the 1 ‘out and look at accounts and looks into other,
2 documents to the chair of Promotions Committee 2 you know, other issues, and no, they could not
3. who then would have been responsible for 3 __ bein the role of investigating that. | think
4 _ coordinating and organizing that committee 4 _ the goal was they were presented with the
5 meeting and then communicating to Mr. Eid for 5 material, reviewed it, and then they had the
6 ‘that meeting date. 6 opportunity to ask the student in this case what
7 BY MR. FLORES: 7 happened, his own words.
8 Q. And did you have any further 8 So | would say, no, the goal was for
9 involvement with the case after writing the 9 them to gain a better understanding of what was
10 letter to my client informing him of the 10 going on, of his motivations and the outcomes.
11. ~~ decision? 11. BYMR. FLORES:
12 MR. PORTER: Objection; form. 12 Q. But my client testified that he had a
13 THE WITNESS: | forwarded all the 13 legitimate purpose for staying in contact with
14 documentation to the Promotions Committee, and 14 Amanda Burton; is that right?
15 that was my involvement. | attended the 15 MR. PORTER: Objection; assumes facts
16 Promotions Committee meeting, but I wasn't on 16 not in evidence.
17‘ that committee. 17 THE WITNESS: I seem to recall that
18 BY MR. FLORES: 18 ‘that was his testimony with the Professionalism
19 Q. Did you speak at the Promotions 19 Committee was yes, he argued he had a legitimate
20 Committee meeting? 20 __— reason staying in contact with her.
21 A. I don't recall if I -- my role in 21 BY MR. FLORES:
22 that committee would have been to answer 22 Q. And he denied sending any lawyer
23 questions from the actual committee, but | do 23 letter, fraudulent or otherwise, to Amanda
24 ~—snot recall if they had any questions of me. 24 Burton; is that right?
25 Q. Do you remember whether Dr. Chadwell 25 A. Iseem to recall he did deny that,
Page 91 Page 93
1 was at that Promotions Committee meeting? 1 yes.
2 A. I don't recall specifically. | would 2 Q. So clearly there was a dispute
3 be presuming or assuming because she was in 3. between the different -- in terms of the witness
4 attendance at all of those, but | would assume 4 testimony, what Ms. Burton testified to and what
5 yes. I can't say for certain that she was 5 Mr. Eid testified to were in conflict with one
6 ‘there. I don't recall. 6 another; is that right?
7 Q. Dr. Jackson, looking back at the way 7 MR. PORTER: Objection to the extent
8 you conducted the Professionalism Committee 8 that you are characterizing his prior testimony,
9 hearing for my client, what was the most 9 that's not accurate, but if you can answer the
10 important goal that you had for that hearing? 10 question, feel free.
11 MR. PORTER: Objection; form, 11 THE WITNESS: | don't think there was
12 foundation. 12. adiscussion of the conflict between them. It
13 THE WITNESS: The goal would be to 13. was nota he said, she said. There was so
14 provide the student, in this case Anthony Eid, 14 much -- there was so much documentation with all
15 an opportunity to tell his side of things to the 15 the text messages that did come from Anthony Eid
16 committee. 16‘ that | think my opinion was the committee saw
17. +BY MR. FLORES: 17 __‘ that as something that was very impactful, very
18 Q. It was not to fully investigate the 18 important, to their decision-making.
19 charges against him? 19 BYMR. FLORES:
20 MR. PORTER: Objection; 20 Q. But at the same time the allegation
21 ~~ argumentative. 21 __was that all of that conduct back and -- all
22 THE WITNESS: My interpretation of 22 that communication back and forth was
23 ~_—sthe word "investigate" was that committee would 23 legitimate, it had a legitimate purpose.
24 have been responsible for digging deeper. Some | 24 Didn't that make a difference to the
25 _ of the questions you've asked me, did they go 25 committee?
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1 _ university -- well, as far as | know legally in 1. Ms. Robichaud probably at the same time, but,
2 = Michigan, it's prohibited. 2 yes, | would have had conversations with them.
3. BY MR. FLORES: 3 Q. And do you remember what the nature
4 Q. It's prohibited from recording a 4 _ of that conversation was?
5 Professionalism Committee hearing? 5 A. No, no, other than -- it would be
6 A. Well, | was putting that in a 6 speculation. I'm trying to recall what
7 different context. No, if everybody in 7 happened, but it would just be the nature of the
8 attendance is aware that it's being recorded 8 next step would be the Promotions Committee.
9 then it's permitted, yes. | was thinking of 9 Q. Do you recall whether or not Dr.
10 somebody -- 10 Chadwell or Ms. Robichaud was pleased with the
11 MR. PORTER: Objection. Are we 11. decision by the Professionalism Committee?
12 talking about generally or this Professionalism 12 MR. PORTER: Objection; calls for
13. Committee that Mr. Eid attended? 13. speculation.
14. BY MR. FLORES: 14 THE WITNESS: | can't --
15 Q. The Professionalism Committee that 15 BY MR. FLORES:
16 you chaired, was there any rule that you were 16 Q. Did either of them express an opinion
17. aware of that prohibited you from recording the 17. as to whether or not the Professionalism
18 hearing? 18 Committee had reached the proper decision?
19 A. No, I'm not aware of any rule that 19 A. Yeah, | don't recall them expressing
20 ~=would prohibit that. 20 any opinion after the decision was made.
21 Q. Dr. Jackson, are you familiar with a 21 Q. Do you know how many conversations
22 Dear Colleague letter that was sent by the 22 you had with them, do you remember?
23 Department of Education's Office of Civil Rights | 23 A. No, I don't.
24 to schools, colleges and universities in 2011 24 MR. FLORES: If you would publish
25 dealing with Title 97 25 ‘Exhibit B for Dr. Jackson.
Page 111 Page 113
1 A. No, | can't say that I'm familiar 1 MARKED FOR IDENTIFICATION:
2 with that. 2 EXHIBIT B
3 Q. Are you aware of what penalties the 3 1:17 p.m.
4 Department of Education can impose on a school 4 BYMR. FLORES:
5 that fails to properly address Title 9 concerns? 5 Q. Dr. Jackson, if you would, just read
6 A. No. I'm not aware of those 6 __ that first portion and once you're done let me
7 penalties. 7 know.
8 Q. And after the close of the 8 A. All right.
9 Professionalism hearing on February 7th of 2019, 9 Q. And are you familiar with this
10 = did you have any conversations with my client? 10 document prior to my showing it to you this
11 A. No, other than the e-mail 11. morning?
12 communication | had to him with the letter 12 A. No, I'm not.
13 giving the decision of the Professionalism 13 MR. FLORES: All right. | have no
14 Committee, but no conversations. 14 further questions for the witness.
15 Q. Did you talk to Dean Chadwell after 15 Dr. Jackson, thank you very much for
16 the Professionalism Committee reached its 16 your time today. | appreciate it.
17 decision? 17 MR. PORTER: I'm going to ask him a
18 A. Specifically about the decision or 18 few questions.
19 Mr. Eid? 19 MR. FLORES: Sure.
20 Q. Any aspect of the case. 20 EXAMINATION
21 A. 1|don't recall any specific 21 BY MR. PORTER:
22 conversations, but very possibly I did. 22 Q. Dr. Jackson, did you meet with
23 Q. How about with Ms. Robichaud? 23. ~~ Anthony Eid on January 25, 2019?
24 A. If it would have been -- if it would 24 A. Yes, | believe that was the prep
25 _— have been Dr. Chadwell it would have been 25 __—s session.
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Q. And was the purpose of that to
provide him the materials that would be later
provided to the Professionalism Committee?

A. Yes.

Q. Did he have an opportunity during
that meeting to review the materials?

A. Yes.

Q. Did he ask you any questions about
any of the materials?

A. I don't recall him asking specific
questions about the material, no.

Q. Were you present while he was
reviewing the materials?

A. Yes, | was.

Q. And did he deny the -- well, strike
that.

Included in those materials were text
messages that were provided by Amanda Burton
between her and Anthony Eid; is that correct?

A. Yes, that's correct.
Q. And those were included in the packet
of materials; is that correct?
A. Yes.
Q. And did he deny sending any of the
text messages as he was reviewing them there in

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ALRWNHAOHODNRAAWNH BOWMAN |OATRWNH =

really -- | couldn't understand the question.
Can you repeat it?
BY MR. PORTER:

Q. Is it your testimony earlier today
that the primary focus of the Professionalism
Committee is on the student in question and
their conduct during the Professionalism
Committee?

A. Yes, that's correct.

Q. And was that true in Mr. Eid's case?

A. Yes.

Q. And so would it be fair to say that
any testimony by Ms. Burton that may have been,
in Mr. Flores' words, inconsistent was not
material to the purpose or the objective of the
Professionalism Committee?

A. That's correct.

Q. Earlier today you were asked
questions about, quote, charges that were filed
against Mr. Eid in front of the Professionalism
Committee; is that correct?

A. Yes.

Q. Andis it your understanding that
there are multiple charges filed against the
particular student or just a charge?

 

 

 

 

 

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1 ‘your office? 1 A. In this particular case, there were

2 A. No, he did not. 2 multiple charges.

3 Q. That material was then later provided 3 Q. Okay. And what was just the -- what

4 to the Professionalism Committee; is that 4 _ was the overall description or nature of the

5 correct? 5 charge against Mr. Eid?

6 A. Yes, that's correct. 6 A. | think it was the cyberstalking and

7 Q. And was he asked questions about 7 continued aggressive messages, unwanted

8 those text messages during the Professionalism 8 messages, that he sent to Amanda.

9 Committee? 9 Q. Okay. And then earlier today you

10 A. Yes. 10 were asked questions about the Student Code of

11 Q. Did he deny sending any of the text 11. Conduct. Do you recall?

12 messages during the Professionalism Committee? | 12 A. Yes.

13 A. No, he did not. 13 Q. Does the Professionalism Committee

14 Q. Did he take responsibility for 14 follow the guidelines that are set out in the

15 sending them? 15 Student Code of Conduct?

16 A. Yes, he did. 16 A. No, it doesn't.

17 Q. Mr. Flores asked you some questions 17 Q. Is the Professionalism Committee

18 about disputes between Ms. Burton and Mr. Eid, 18 bound by those guidelines?

19  andas | heard you testify the primary emphasis 19 A. No, it's not.

20 of inquiry by the Professionalism Committee was 20 Q. Okay. That's all the questions |

21 onthe statements that the student was subject 21 ‘have for you.

22 to the Professionalism Committee gave to the 22 MR. PORTER: Bob, anything more?

23 ‘Professionalism Committee; is that true? 23 MR. FLORES: No.

24 A. Yes, that's the principal mission. 24 MR. PORTER: Denise, | assume Mr.

25 MR. FLORES: I'm sorry, David, | 25 ‘Flores ordered a copy of the transcript or
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